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Plaintiffs’ Co-Lead Counsel

[Additional counsel listed on signature page]


                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                   MDL No. 2843
PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC


This document relates to:                        NOTICE OF META’S FAILURE TO
                                                 FUND ESCROW FUND AS REQUIRED
ALL ACTIONS                                      BY THE SETTLEMENT AGREEMENT
                                                 AND REQUEST FOR STATUS
                                                 CONFERENCE

                                                 Judge: Hon. Vince Chhabria
                                                 Courtroom: 4, 17th Floor




NOTICE OF FAILURE TO FUND                                                        MDL NO. 2843
ESCROW FUND                                                           CASE NO. 18-MD-02843-VC
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       Plaintiffs respectfully request a status conference with the Court to discuss Meta’s failure

to fund the escrow fund as required by the Settlement Agreement. The due date for Meta to fund

the escrow account was 21 days from the Court’s final approval order. ECF No. 1096-2, Settlement

Agreement, ¶ 63. That date was October 31, 2023. As of today’s date, Meta has not funded the

account. Plaintiffs have asked if Meta has an inability to fund the account and have not received

any substantive response or explanation. Assurances that Meta has funded the account have not

borne out.

       The Settlement Agreement and accompanying escrow instructions, heavily negotiated by

the parties, provides that the funds shall be invested such that interest will accrue to the benefit of

the class. ECF No. 1096-2, Settlement Agreement, ¶ 25. Meta’s failure to fund impedes interest

accruing on behalf of the Class. The total lost interest for the Class for the three-day period is

$319,600.65.

       Consistent with this Court’s retention of jurisdiction to enforce the terms of the agreement,

ECF No. 1182 at ¶ 27, Plaintiffs respectfully request a status conference with the Court.


Dated: November 2, 2023                                Respectfully submitted,

KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                             By:     /s/ Lesley E. Weaver
       Derek W. Loeser                                         Lesley E. Weaver

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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatory. I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 2nd day of November, 2023, at Oakland, California.

                                                      /s/ Lesley E. Weaver
                                                      Lesley E. Weaver




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